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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    JEREMIAH BUSH,
                             Petitioner,                               CIVIL ACTION
                                                                       NO. 21-2106
             v.

    THOMAS MCGINLEY, et al.,
                  Respondents.


PAPPERT, J.                                                                            July 5, 2022
                                                ORDER

        AND NOW, this 5th day of July 2022, upon consideration of Jeremiah Bush’s

Petition for a Writ of Habeas Corpus (ECF 1) and the Report and Recommendation of

U.S. Magistrate Judge David Strawbridge (ECF 19), to which no objections were filed,

it is ORDERED that:

        1.        The Report and Recommendation is APPROVED and ADOPTED.1

        2.        Bush’s Motion for Stay and Abeyance (ECF 15) is GRANTED.

        3.        Bush’s case is STAYED and his Petition placed in SUSPENSE pending

        the completion of his collateral review proceedings in state court.

        3.        Bush must NOTIFY the Court within thirty days of the conclusion of his

state court proceedings so his case can resume in this Court.


                                                           BY THE COURT:


                                                           /s/ Gerald J. Pappert
                                                          GERALD J. PAPPERT, J.


1        When no objection is made to a report and recommendation, the Court “need only satisfy
itself that there is no clear error on the face of the record.” Fed. R. Civ. P. 72(b) advisory committee’s
notes. There is no such error here.
